Case: 1:18-cv-00357-TSB-KNM-MHW Doc #: 281 Filed: 09/16/19 Page: 1 of 3 PAGEID #: 23744




                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF OHIO
                                     WESTERN DIVISION



     Ohio A. Philip Randolph Institute, et al.,           Case No.: 1:18-cv-00357-TSB

                           Plaintiffs,                    Judge Timothy S. Black
                                                          Judge Karen Nelson Moore
                     vs.                                  Judge Michael H. Watson

     Larry Householder, Speaker of the Ohio               Magistrate Judge Karen L. Litkovitz
     House of Representatives, et al.,

                           Defendants.


              NOTICE OF WITHDRAWAL OF APPEARANCE OF CO-COUNSEL

           Pursuant to S.D. Ohio Civ. R. 83.4(d), please take notice that Erika Dackin Prouty of

    Baker & Hostetler LLP hereby withdraws as co-counsel for Intervenors in the above-captioned

    matter. Intervenors will continue to be represented by all other counsel of record from Baker &

    Hostetler LLP.
Case: 1:18-cv-00357-TSB-KNM-MHW Doc #: 281 Filed: 09/16/19 Page: 2 of 3 PAGEID #: 23745




     Date: September 16, 2019                 Respectfully submitted,

                                              BAKER & HOSTETLER LLP

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                                          2
Case: 1:18-cv-00357-TSB-KNM-MHW Doc #: 281 Filed: 09/16/19 Page: 3 of 3 PAGEID #: 23746




                                     CERTIFICATE OF SERVICE

           I certify that on September 16, 2019, the foregoing was filed via the Court’s CM/ECF

    system and served via electronic filing upon all counsel of record in this case.



                                                         /s/ Erika Dackin Prouty




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